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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


                             )
                             )
                             )
MCLEAN MORTGAGE CORPORATION, )                       Case No.
                             )
                 Plaintiff,  )                       COMPLAINT FOR DAMAGES AND
                             )                       DECLARATORY RELIEF
             v.              )
                             )                       DEMAND FOR JURY TRIAL
JAMES NADER,                 )
                             )
                 Defendant.  )
                             )


                                        COMPLAINT

       Plaintiff McLean Mortgage Corporation (“MMC” or the “Company”) brings this

Complaint against Defendant James Nader (“Nader”), and in support alleges as follows:

                                      INTRODUCTION

       1.     This is a disturbing case involving a rogue Chief Executive Officer’s (“CEO’s”)

brazen and programmatic violations of his fiduciary duties and obligations. MMC, its non-

executive Board members, and its shareholders have recently learned that the Company’s former

CEO, James Nader, for years pursued a range of self-interested transactions designed solely to

enrich himself at the Company’s expense – all while misleading the Company’s Board and

employees, and otherwise keeping these important constituencies in the dark. The full range of

Nader’s misconduct – as well as the extensive harm it has caused the Company – is only now

coming fully into view.

       2.     MMC is a family-owned, “client-first” focused mortgage lender based in Fairfax,

Virginia. See https://mcleanmortgage.com/about/ (last visited September 7, 2022). Since its


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founding in 2008 with an initial $10 million capitalization by Delmar Lewis, MMC has provided

mortgage services and advice to over 57,000 families, making MMC one of the most trusted

community mortgage lenders in the area.

       3.        In early 2019, the continued operations and legacy of MMC were entrusted to its

newly-appointed CEO, James Nader, who reported to MMC’s Board.

       4.        Despite ongoing negotiations before Nader’s appointment through 2022 between

MMC and Nader concerning the terms of Nader’s proposed employment agreement, no such

agreement was ever reached or executed because Nader would not execute the agreement unless

MMC agreed to terms that would, among other things, ratify his then-unknown egregious

misconduct.

       5.        Nader, like all Virginia corporate officers and directors, owed fiduciary duties to

MMC and its shareholders.

       6.        From the day he became CEO, Nader used his position to engage in a series of

self-interested and self-dealing activities for the sole purpose of enriching himself. During this

entire time, he completely and flagrantly disregarded his fiduciary duties solely to promote a

hidden scheme to manipulate and mislead the MMC Board and its shareholders into allowing

Nader to gain ownership and control of MMC, and to enrich himself at the expense of MMC and

its employees.

       7.        First, Nader worked to acquire stock of MMC from other minority shareholders

under the guise that the stock would be repurchased by MMC. In fact, and without the

knowledge and consent of the Board, Nader purported to purchase these shares for himself using

MMC funds and by taking loans from MMC to pay for these shares without any Board

disclosure or authorization.




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       8.      Second, without the Board’s knowledge or approval, Nader created a limited

liability company, Virtual Title & Equity, LLC (“VTE”). Although MMC – again, without the

Board’s knowledge – provided the funds to create VTE, MMC was issued less than 50% of its

equity, while Nader ensured that he would be in control of VTE. Nader then authorized a

$400,000 line of credit from MMC to VTE. VTE currently owes $400,000 against that line of

credit, plus an additional $120,000 in expenses, for a total of $520,000. Nader used MMC funds

to establish VTE bank accounts, credit lines, and marketing materials, and to acquire other title

companies for VTE.

       9.      While the MMC Board was unaware of VTE’s existence or that it was funded

using MMC’s capital, Nader instructed MMC loan officers to refer business to VTE for the

purpose of enriching himself on the back of MMC’s assets, business, and goodwill.

       10.     Once the MMC Board learned of VTE’s existence, Nader hatched a plan to divest

MMC of its ownership shares so he alone could control and profit from VTE.

       11.     Third, Nader intentionally disrupted and sabotaged the sale of MMC in an attempt

to acquire the Company himself at a steep discount. Nader knew the Board sought to sell the

Company to a buyer best suited to ensure the Company’s long term success, and during this

same time, Nader sought to purchase MMC for well below market value. But the Board rejected

Nader’s offer, and subsequently received multiple offers to buy MMC for many times more than

Nader’s lowball offer.

       12.     Despite his duty to work in the best interest of the Company and its shareholders,

Nader worked to sabotage a sale to those bidders. He intentionally leaked information about the

deal to MMC employees to stoke hostility towards the buyer and the sale. He also moved to

assemble competing bid proposals that would benefit him financially (at MMC’s expense).




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       13.     Toward the end of his tenure with the Company, Nader also sought to shore up his

own position in MMC and protect his own self-interest by offering employment agreements to

certain loan officers that allowed them to leave without repaying their substantial signing

bonuses (up to $2 million) if Nader were no longer employed by the Company.

       14.     Nader further entered into agreements that were critical to the Company’s

operation and contingent upon him remaining in control of MMC, in an attempt to cause

irreparable harm to MMC if he were fired. As an example, he asserted his dismissal would put

the Company at risk of violating bank covenants, and falsely alleged that this violation would

cause the Company to fail.

       15.     As a result of Nader’s efforts, the potential sales of MMC fell through, causing

MMC (and its shareholders) substantial harm.

       16.     Once Nader’s machinations finally came to light, the Board promptly terminated

him and began a full investigation of his conduct. Based on what it has learned so far, it is clear

that Nader has caused the Company substantial damages through serious misconduct.

       17.     MMC now brings this suit to recover those damages, as well as all other

appropriate relief, including declaratory relief and attorney’s fees and costs.

                                             PARTIES

       18.     Plaintiff McLean Mortgage Corporation is a corporation organized under the laws

of the Commonwealth of Virginia, located at 11325 Random Hills Road, Suite 400, Fairfax,

Virginia 22030. It is a local and trusted community mortgage lender, providing mortgage

services and advice to over 57,000 families since its opening in 2008.

       19.     Defendant James Nader is the former CEO of MMC.




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                                 JURISDICTION AND VENUE

       20.     The Court has diversity jurisdiction over this action pursuant to 28 U.S.C § 1332

because there is complete diversity between the parties.

       21.     MMC is a citizen of the Commonwealth of Virginia for diversity jurisdiction

purposes. A corporation is “deemed to be a citizen of every State” where it is incorporated and

where it “has its principal place of business.” 28 U.S.C. § 1332(c)(1).

       22.     MMC is a citizen of the Commonwealth of Virginia because it is incorporated in

Virginia and has its principal place of business there. See id.

       23.     Nader is a citizen of the State of Maryland and domiciled at 5509 Westbard

Avenue, Bethesda, MD 20816.

       24.     Complete diversity therefore exists between the parties.

       25.     The amount in controversy also far exceeds the sum or value of $75,000. See 28

U.S.C. § 1332(a). Nader’s flagrant violations of his fiduciary duties and responsibilities,

including but not limited to fraudulently acquiring company equity and misusing corporate

assets, and actively hiding his activities from the Board, have caused MMC damages that far

exceed the jurisdictional minimum.

       26.     The Company has had to undertake a costly investigation to uncover the full

range of his misconduct.

       27.     Counteracting his misconduct will also involve substantial time and expense.

       28.     Nader’s self-interested transactions involving VTE involved the misuse of

substantial corporate funds.

       29.     Nader also misused substantial corporate funds in a purported effort to acquire an

ownership interest in MMC.




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       30.     And Nader’s failure to cooperate in and efforts affirmatively to sabotage the sale

of MMC have cost MMC millions of dollars.

       31.     The Court has personal jurisdiction over MMC because it transacts business in the

Commonwealth. See Va. Code Ann. § 8.01-328.1(A)(1).

       32.     The Court has personal jurisdiction over Nader because he substantially injured

MMC through his actions and omissions in Virginia and transacted business in Virginia as

MMC’s CEO. See id.§ 8.01-328.1(A)(1) and (3).

       33.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to MMC’s claims against Nader occurred

in this District. Nader breached his fiduciary duties and engaged in a bevy of corporate

misconduct in this District. Id.

                                   FACTUAL ALLEGATIONS

                             MMC Appointed James Nader As CEO

       34.     MMC was founded in 2008 with the goal of building a strong financial institution

that would become a trusted partner for families hoping to find the right homes and the right

financing.

       35.     Over the years, MMC grew to become one of the top mortgage lenders in the

area. MMC operated on a “clients first” ethos, employed a team of accomplished and motivated

mortgage professionals, and has helped many families achieve their dreams of home ownership.

       36.     MMC is a closely-held family business. In the early years following MMC’s

founding, the Company’s founder, Delmar Lewis, served as Chairman of the Board and

delegated most of the day-to-day operating responsibilities to the Company’s former CEOs,

Nathan Burch and Pat Peavley.




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       37.     Delmar’s sons, Christopher and Brendan Lewis, became members of MMC’s

Board of Directors in 2019 and 2020, respectively, with the goal of safeguarding the Company’s

overall health and legacy. Delmar Lewis served as Chairman of the Board.

       38.     Christopher, Brendan, and Delmar Lewis (now through his trust) are shareholders

of MMC.

       39.     In 2010, James Nader joined MMC in a Vice President role.

       40.     In early 2019, the Board promoted James Nader to CEO.

       41.     MMC and James Nader’s relationship was intended to be governed by an

employment agreement, which was initially drafted in 2018.

       42.     In January 2019, Nader received an updated draft of his proposed employment

agreement, which outlined his role and compensation package.

       43.     At the time, the proposed agreement only allowed Nader to acquire equity in

MMC through a proposed grant of stock options that would vest over time. (But that soon

changed without the Board’s knowledge.)

       44.     Despite months of negotiations over the terms of the proposed employment

agreement and the possibility of an option grant, the parties never finalized and executed an

agreement.

       45.     Nevertheless, in April 2019, the Board passed a resolution that, effective as of

January 2019, Nader would be formally appointed as the President, CEO, and Secretary of

MMC.

       46.     The Board still worked in good faith to execute a formal employment agreement

with Nader, assuming terms could be finalized and agreed between Nader and the Company.




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       47.     After becoming CEO, and for the next three and a half years, Nader engaged in a

broad range of self-interested schemes designed to enrich himself at the Company’s expense.

               Nader Misappropriated Company Funds In An Effort To Acquire
                   MMC Shares For Himself Without Any Board Approval

       48.     In September 2019, Karen Lewis, a shareholder and employee of the Company

owning 10% of MMC’s equity, contacted Nader to inquire about selling 5% of her MMC shares

to MMC investors in exchange for installment payments.

       49.     Nader, without the Board’s knowledge or consent, advised Karen Lewis that he

would like to buy the shares “back into the company” for the purpose of distributing them to

MMC executives.

       50.     Nader then advised the Board, contrary to his statements to Karen Lewis, that

Karen Lewis’s shares would be purchased by MMC and put back into MMC’s Treasury Fund.

That representation was false.

       51.     Instead of the shares being returned to MMC and put in the MMC Treasury Fund

for possible later distribution to MMC employees on terms approved by the Board, Nader

purported to purchase the shares using MMC funds and then transfer the shares to himself.

       52.     To obtain the shares, Nader directed MMC to forgive debt Karen Lewis owed the

Company and to pay Karen Lewis cash for the shares. Nader and Karen then completed the

stock transfer. After the transfer, Nader signed a promissory note to repay the Company for the

funds paid by MMC for Karen Lewis’s shares.

       53.     Nader did not actually create the promissory note until several months after he

directed the Company to take that action, without Board knowledge or approval. He alone

dictated the terms of the promissory note, including automatic forgiveness of the note over three




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years, subject only to his continued employment by MMC. Nader alone then signed the

promissory note without Board knowledge or approval.

       54.     While Nader and MMC were still negotiating a possible employment agreement

at this time, the draft employment agreement did not afford Nader any option to acquire equity

from existing MMC shareholders nor mention any intent of doing so. Nor did the Board ever

authorize Nader to purchase Karen Lewis’s shares (or any other shares) for himself – as

manifestly evidenced by his improper signing of the note for the borrower and the lender.

       55.     Nevertheless, in October 2019, Nader altered his draft employment agreement to

rationalize and accommodate his improper behavior and purported purchase of the shares after

the fact. The new draft contained provisions authorizing Nader to purchase company equity. It

further proposed to authorize Nader to borrow MMC company funds to finance his purchases of

company shares.

       56.     These changes to Nader’s draft employment agreement were neither shared with

nor agreed to by MMC’s Board.

       57.     Following these changes, and while actively keeping the Board in the dark, Nader

opportunistically used MMC company funds to purchase the shares for roughly half their fair

market value, disbursing company funds from September 2019 through July 2020 to Karen

Lewis in small increments ranging from $5,000 to $25,000, purportedly to hide the true use of

these funds.

       58.     The Board never authorized Nader to use MMC funds to purchase Karen Lewis’s

shares for himself.




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         59.   In January 2020, Karen Lewis requested a purchase agreement for the sale of her

shares. In July 2020, after the disbursements were completed, Nader promised to provide Karen

Lewis with a purchase agreement.

         60.   The purchase agreement was never seen or authorized by the Board.

         61.   Based on Nader’s false representations, the Board believed that Karen Lewis’s

shares had been transferred into the MMC Treasury Fund following the purchase of her shares.

But that never happened.

         62.   In November 2020, Nader presented the Chairman of the MMC Board, Delmar

Lewis, with the proposed new terms of his draft employment agreement. Specifically, the

proposed agreement’s new equity-related provisions purported to allow Nader to purchase up to

25% of MMC shares from minority shareholders or acquire newly-issued shares.

         63.   The Board never approved the changes to the draft employment agreement or

agreed to them, and told Nader it would not approve the changes.

         64.   Thus, MMC and Nader never finalized and executed any employment agreement,

nor approved or authorized Nader’s acquisition of MMC shares.

         65.   Nevertheless, Nader continued to purchase MMC shares from minority

shareholders by directing MMC funds for his own benefit and without authorization from the

Board.

         66.   In or around November 2020, Karen Lewis contacted Nader again to inquire

about selling her remaining MMC shares to Nader or MMC.

         67.   On December 31, 2020, a second purchase agreement was executed for the direct

sale of Karen Lewis’s shares to Nader. Nader signed the purchase agreement for both the

purchaser (himself) and the Company. As with the first purchase of Karen Lewis’s shares,




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Nader issued to the Company, and directed the Company to accept, a promissory note for the

purchase price payable to her. Nader alone dictated the terms of the promissory note, including

automatic forgiveness of the note over three years, subject only to his continued employment by

MMC, and he alone signed the note.

          68.   While the Board was aware that Karen Lewis’s shares were being acquired, the

Board believed these shares were being returned to the MMC Treasury fund and was never made

aware of the transaction’s benefits to Nader.

          69.   During the same month, Nader directed the negotiation of the sale of the MMC

shares of the late minority shareholder, Pat Peavley, represented by an MMC Loan Officer, Larry

Justice. Justice is the executor of the Peavley estate. Nader proposed that MMC would purchase

the Peavley Estate’s shares, which amounted to approximately 10% of MMC’s outstanding

shares.

          70.   In January 2021, Justice rejected the offer to purchase the Peavley Estate’s shares

after Nader refused to give him a fair evaluation of the fair market value of his shares. The

Board believed the discussions between Nader and Justice related to purchasing the shares for

the MMC Treasury Fund, not for Nader’s personal gain.

          71.   Later, Justice made a lawful shareholder demand for financial information, to

which Nader failed to respond.

          72.   On information and belief, Nader again planned to pay for the Peavley Estate’s

shares with MMC funds while transferring the shares to Nader.

          73.   On April 6, 2021, MMC’s Board learned that Nader had been purchasing and

attempting to purchase the equity of minority shareholders for himself using MMC funds for his

own benefit, rather than for the MMC Treasury Fund.




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       74.     Consequently, the Board halted the discussions surrounding Nader’s draft

employment agreement, even though it had already paid Nader a good faith bonus in 2020 in

advance of the employment agreement being executed.

       75.     In response, Nader unilaterally canceled an upcoming shareholder’s meeting in

violation of the Company’s bylaws without informing the full Board.

       76.     Despite the Board’s discovery, Nader attempted to acquire another 5% of MMC

stock in 2022 when he requested control over the 5% of MMC shares that were held in the MMC

Treasury Fund.

       77.     Nader of course offered no payment for these shares, but rather requested the

Board give him the shares for free.

       78.     The Board never approved Nader’s brazen request.

         Nader Formed Another Business – In Which He Owns A Majority Interest –
                                  Using MMC Funds

       79.     Not only did Nader use MMC funds to finance his purchases of MMC shares, but

he also used MMC funds to finance the formation of another business vehicle for his benefit.

       80.     In September 2020, Nader created a business called VTE without Board approval

or communication. VTE offered a range of services, including title insurance.

       81.     VTE was established as a Virginia limited liability company (“LLC”) in

November 2020.

       82.     Under the terms of the LLC agreement, Nader controlled the voting interest in

VTE. He planned eventually to eliminate MMC’s interest.

       83.     After creating VTE, Nader used MMC funds to establish VTE’s presence in the

marketplace, including opening a line of credit from MMC to VTE that he used to fund VTE.




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       84.     Nader also opened and funded bank accounts, took out credit lines, purchased title

companies, and created marketing materials and a website for VTE – all paid for with funds from

MMC and using MMC staff and facilities.

       85.     Despite controlling VTE, Nader did not contribute material funds to form or fund

the operations of VTE. MMC effectively funded the entire operation without the Board’s

knowledge or approval and yet MMC only retained a 48% membership interest.

       86.     Nader then used his executive authority at MMC to vacate one of MMC’s

subleases to give the leased space over to VTE for its offices. Nader later renewed that sublease

for VTE without the authorization of the Board.

       87.     By March of 2021, VTE, through Nader, had hired employees and developed a

business plan. That plan included the acquisition of other companies, and indeed, VTE acquired

another title company using funds from MMC.

       88.     Nader never informed the Board of the fact or circumstances of VTE’s formation,

the use of MMC funds by VTE, nor the acquisition of other companies by VTE.

       89.     But at the same time he kept the Board in the dark, Nader informed MMC loan

officers and staff of VTE’s existence and operations for the purpose of encouraging them to refer

settlement and title service business opportunities to VTE on an ongoing basis.

       90.     As a result, VTE was not only funded by MMC, but its early growth was largely

dependent on business opportunities referred from MMC by way of Nader’s authority and

encouragement.

       91.     In May 2021, once VTE was established using MMC’s funds and referrals, Nader

notified the Board of VTE’s existence and MMC’s membership in the LLC. However, the

Board was never informed that MMC had been funding VTE’s operations up until that point.




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       92.     Shortly thereafter, Nader began working to take complete control of VTE by

diluting MMC’s interest in it.

       93.     In September 2021, Nader began suggesting directly to the MMC Board that

MMC divest itself of VTE, all the while intending to keep VTE’s operations going for his own

benefit.

       94.     Nader told the Board that MMC should avoid having any equity interest or formal

association with VTE because MMC’s investment in the company’s creation was a mistake.

       95.     This representation was false. Nader only wanted MMC to divest its interest in

VTE so that he could retain complete control over the entity that MMC funded.

       96.     Nader then used his powers as CEO of MMC to keep MMC and VTE from

becoming further intertwined in any way that could frustrate his plan to dilute MMC’s interest in

VTE. He avoided having VTE formally associated with MMC in any business-related ventures.

       97.     For example, Nader declined to approve an MMC-VTE cross-company guarantee

for printer leases, stating as his reason that MMC would be divested from VTE in the near future.

       98.     Despite wanting to divest MMC of any equity or voting power it had over VTE,

Nader continued to use MMC resources to further VTE’s growth.

       99.     In February 2022, Nader produced a “commercial” advocating the use of VTE’s

services. The promotion was targeted to MMC loan offers, encouraging them to refer more

business to VTE. On information and belief, Nader used MMC funds, facilities, and staff to

finance this commercial.

       100.    Ultimately, Nader sought to develop VTE using MMC resources so that it could

refer business opportunities (and revenue) to VTE. By doing so, the value of Nader’s interests in

VTE would increase without MMC retaining any benefit from VTE.




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                  Nader Sabotaged The Potential Sale Of MMC In An Effort
                               To Acquire MMC For Himself

       101.    On July 12, 2021, Nader tendered a low-ball offer to buy MMC purportedly with

capital raised from outside investors. Nader offered to purchase all the equity held by the Lewis

family members, which would result in Nader becoming the majority shareholder of MMC.

       102.    On information and belief, and in violation of his fiduciary duties, Nader provided

confidential information to outside investors to incentivize them to back his unauthorized and

self-interested bid for the Company.

       103.    The Board declined to accept the offer because Nader’s price was far below even

book value, let alone fair market value.

       104.    Following Nader’s offer and the death of the Board’s Chairman, Delmar Lewis,

MMC’s Board convened a special committee to determine MMC’s fair market value and

consider MMC’s potential options for sale.

       105.    From the fall of 2021 to early 2022, MMC considered interest from potential

buyers for an acquisition of MMC.

       106.    During this time, Nader and the MMC Board renewed the negotiations

surrounding Nader’s draft employment agreement and the terms of his compensation.

       107.    Nader was aware the Board sought to sell the Company, as the Board informed

him that “the prize right now is successfully selling the company” and that Nader’s

compensation “should be directly tied to that.”

       108.    In June of 2022, Nader’s draft employment agreement even contained explicit

provisions linking Nader’s compensation as CEO to a successful sale of MMC.




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       109.    The Board and Nader did not finalize or execute the draft agreement. Rather, the

parties decided to refrain from signing the employment agreement until a purchase agreement for

the sale of MMC was signed.

       110.    During these months of negotiations, and without the Board’s knowledge, Nader

was also working on a plan to acquire MMC himself.

       111.    In September 2021, while the Board was fielding substantial offers for MMC,

Nader, with the help of MMC’s auditor, Richey May & Company, contacted a financial advisor

to counsel him on creating an Employee Stock Ownership Plan (“ESOP”) for MMC where he, as

a company manager, could receive preference to acquire ownership of the Company. Nader

undertook this move without the Board’s knowledge or approval.

       112.    In February 2022, Nader spent $50,000 in MMC funds to formally engage PCE

Investment Bankers so that it could help him structure an “ESOP Transaction” for MMC.

Nader’s agreement with PCE was purported to be “exclusive,” and thus in conflict with the

Board’s already in place agreement with another investment banking company. The Board did

not approve and was never informed of this engagement.

       113.    The MMC Board later received two substantial offers for the sale of MMC

through the efforts of its authorized investment banking company. These were the highest and

best bids the Board had received to date.

       114.    The Board intended to accept one of the offers and enter an agreement to sell

MMC.

       115.    When Nader learned of these offers and the Board’s intention to accept one of

them, he promptly moved to sabotage the offers.




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       116.    For both offers, Nader leaked details about the buyers and disparaged the

potential sales to MMC management, loan officers, and employees to promote his plan and stoke

hostility towards other potential buyers.

       117.    Nader also refused to meaningfully engage with the potential buyers as MMC’s

CEO.

       118.    He even refused personal invitations to meet one on one with the CEO of one of

the potential buyers.

       119.    During the time that Nader knew the Company was seeking to identify a potential

acquiror, Nader worked to ensure his position in the Company by signing employment contracts

with loan officers that provided that, if Nader were no longer employed by MMC, the loan

officers could also leave the Company without paying back their signing bonuses.

       120.    So far, Nader’s employment agreements with these loan officers have cost MMC

more than $33,000 of the $2 million in impacted signing bonuses.

       121.    As a result of Nader’s actions, both potential deals fell through, leaving Nader’s

below market offer as the last remaining offer presented.

         MMC Terminated Nader’s Employment Once It Learned Of His Self-Dealing

       122.    Once MMC learned that Nader had failed to cooperate with, and even undertook

to sabotage, the sale process, MMC ceased negotiations over his employment agreement.

       123.    Nevertheless, in August 2022, Nader sought to restart negotiations over his

proposed employment agreement with MMC by submitting his own markup of one of the draft

employment agreement term sheets to the MMC Board.




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       124.    His markup included many new provisions that benefited Nader, including giving

Nader veto power over potential sales of MMC, prohibiting non-competition covenants from

binding Nader, and narrowly defining any “termination for cause.”

       125.    Around this same time, and based on Nader’s conduct related to the sale of the

Company, the Board undertook a thorough investigation into Nader’s conduct as CEO of MMC.

       126.    During the investigation, the Board discovered, among other self-dealing

activities, that Nader had used company funds to finance a purchase of MMC shares, had taken

out lines of credit in MMC’s name to finance VTE’s operations, and contacted third parties in

order to purchase MMC for himself.

       127.    Once the Board confirmed Nader’s severe misconduct, the Board had no choice

but to immediately terminate Nader’s employment as CEO on August 15, 2022.

                    Nader’s Misconduct Has Caused MMC Serious Harm

       128.    Nader’s self-dealing and breaches of his fiduciary duties have caused – and

continue to cause – MMC substantial and serious harm.

       129.    He misused corporate funds in an effort to acquire interests in MMC.

       130.    He misused corporate funds to form and fund the operation of VTE, a business in

which he held a substantial ownership interest.

       131.    He further harmed MMC and its shareholders by sabotaging the sale of the

Company and forcing the Company to change CEOs in the midst of a very challenging mortgage

market.

       132.    As a result of all of his misconduct, Nader has caused direct and substantial

financial harm to MMC in the form of misused corporate assets, lost sale proceeds, and harm to

MMC’s financial and competitive position.




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                                      CAUSES OF ACTION

                                            COUNT I
                                   (Breach Of Fiduciary Duties)

          133.   MMC realleges and incorporates by reference the allegations set forth in

Paragraphs 1 through 132 of this Complaint as if fully set forth herein.

          134.   As a corporate officer of MMC, Nader owed MMC fiduciary duties, including the

duties of loyalty, care, and good faith. See WLR Foods, Inc. v. Tyson Foods, Inc., 869 F. Supp.

419, 421 (W.D. Va. 1994), aff'd, 65 F.3d 1172 (4th Cir. 1995).

          135.   He was thus obligated to discharge his duties “in accordance with his good faith

business judgment of the best interests of the corporation.” Va. Code Ann. § 13.1-690.

          136.   As such, in his role as CEO, Nader could not put his personal interests ahead of

those of the corporation. See Rowland v. Kable, 174 Va. 343, 366 (Va. 1940).

          137.   Despite these clear and fundamental fiduciary obligations, during his tenure as

CEO Nader repeatedly and flagrantly breached them in multiple respects through brazen self-

dealing and self-interested transactions.

          138.   Nader misrepresented to MMC’s minority shareholders and the Board that he was

purchasing a minority shareholder’s equity back into the MMC Treasury Fund, when in reality

he used unauthorized “loans” from MMC to purchase shares for himself.

          139.   In doing so, Nader robbed MMC of its opportunity to repurchase the shares of its

minority shareholders.

          140.   Nader further misappropriated MMC’s assets to fund his purchases of MMC

equity.

          141.   Nader also misappropriated corporate assets by using MMC capital to form and

fund another entity, VTE. He opened and funded bank accounts, took out credit lines, purchased



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other title companies, and created marketing materials and a website for VTE – all with MMC

funds.

         142.   Nader was not authorized to use corporate funds for these purposes, nor did he

ever inform the Board of these uses of corporate funds.

         143.   Nader also attempted to deprive MMC and its shareholders of any benefits of

funding VTE. Once he established VTE, Nader intended to restructure VTE’s ownership

structure to ensure MMC did not obtain majority control of the company through which it could

have managed and benefitted from the company that it had funded.

         144.   Nader also breached his fiduciary duties owed to MMC by failing to cooperate in

and actively sabotaging the sale of MMC.

         145.   When MMC received and intended to accept an offer to sell the Company, Nader,

who wanted to acquire the Company for himself, sabotaged the offer by leaking details about the

buyer to MMC employees to incite hostility towards the buyers and the sale.

         146.   As a result, the deal fell through, and MMC lost the opportunity to sell its assets

to the highest and best bidder and thereby obtain the best financial benefit for the Company and

its shareholders.

         147.   Nader further breached his fiduciary duties by entering into agreements on terms

unfavorable to MMC in an attempt to shore up his position at the Company and line his own

pockets.

         148.   In particular, Nader agreed to employment contracts that allowed certain loan

officers to leave the Company without paying back their signing bonuses if Nader were no

longer employed at MMC. These contracts alone have cost the Company $33,000 in damages so

far, and may cost the Company up to $2 million.




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        149.    Nader also agreed to lease terms, including those with VTE, that were not in the

best interest of MMC.

        150.    Nader further entered into agreements contingent upon him remaining in control

of MMC, threatening that MMC’s operations would be defunded if he were no longer with the

Company.

        151.    Nader repeatedly and wrongfully disregarded MMC’s best interests in favor of

enriching himself at the Company’s expense, including by misappropriating corporate assets and

co-opting MMC’s business opportunities for himself.

        152.    Nader’s misconduct undermined the sale of MMC, thereby depriving the

Company and its shareholders of substantial value.

        153.    Because Nader disregarded the interests of MMC and violated his duty to act in

good faith to MMC’s detriment, his transactions are voidable, including but not limited to his

acquisition of Karen Lewis’s stock.

        154.    MMC is entitled to damages to compensate it for the harms that Nader has caused

to the Company, as well as its attorney’s fees and costs.

        155.    MMC is further entitled to declaratory relief, as well as all other available

remedies and relief, as set forth in its Prayer for Relief.

                                            COUNT II
                                        (Unjust Enrichment)

        156.    MMC realleges and incorporates by reference the allegations set forth in

Paragraphs 1 through 132 of this Complaint as if fully set forth herein.

        157.    MMC has provided Nader with compensation in exchange for Nader executing

the duties as CEO of MMC in good faith and operating MMC’s day-to-day operations in

furtherance of MMC’s best interests.



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       158.    Nader’s compensation included MMC paying him a substantial salary and large

performance-based and good faith bonuses.

       159.    Until August 15, 2022, MMC continued to pay Nader his agreed-upon salary and

benefits.

       160.    Nader knows of the benefits that MMC has conferred on him through his MMC

compensation package.

       161.    Nader has further acquired MMC stock through the use of MMC corporate funds

without authorization from the MMC Board.

       162.    Nader has further benefited financially from his ownership in VTE, which was

funded by MMC without authorization from the Board of MMC.

       163.    Nader is aware of the benefit he has retained through his improper acquisition of

MMC stock and through VTE.

       164.    It would be inequitable and unjust for Nader to retain the benefits of MMC’s

compensation, bonuses, and stock.

       165.    The MMC Board paid Nader for his services as CEO of MMC and expected

Nader to perform his executive role as a fiduciary and in good faith and for the benefit of MMC

in return for that compensation.

       166.    Nader failed to perform the services for which he was compensated by MMC.

       167.    He further acquired MMC stock without paying for it with his own funds, and has

personally benefited from a company he founded and funded with MMC dollars.

       168.    MMC has been harmed by Nader’s failure to pay MMC for the acquisition of

MMC equity shares, by Nader’s decisions to fund VTE through MMC accounts, and by Nader’s

failure to perform his job obligations in exchange for his compensation package.




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        169.    MMC is entitled to damages, including but not limited to the value of Nader’s

executive compensation, the value of the bonuses MMC paid him in good faith, the value of

MMC’s contributions to VTE, and any value or gain he received from VTE.

        170.    MMC is further entitled to declaratory relief, as well as all other available

remedies and relief, as set forth in its Prayer for Relief.

                                             COUNT III
                                            (Conversion)

        171.    MMC realleges and incorporates by reference the allegations set forth in

Paragraphs 1 through 132 of this Complaint as if fully set forth herein.

        172.    MMC is the rightful owner of MMC’s property, including but not limited to its

cash and other assets.

        173.    Nader wrongfully exercised dominion and control over MMC’s property,

including but not limited to its cash and other assets.

        174.    Nader personally acquired MMC stock using MMC funds, without the knowledge

and approval of MMC’s Board.

        175.    Nader used MMC funds to create and fund VTE, including using MMC funds to

establish bank accounts, procure credit lines, and purchase other title companies and marketing

materials for VTE, again without Board knowledge or approval.

        176.    MMC is entitled to damages, including but not limited to the fair market value of

the shares Nader improperly acquired and the value of MMC’s contributions to VTE.

        177.    MMC is further entitled to declaratory relief, as well as all other available

remedies and relief, as set forth in its Prayer for Relief.




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                                              COUNT IV
                                               (Fraud)

        178.    MMC realleges and incorporates by reference the allegations set forth in

Paragraphs 1 through 132 of this Complaint as if fully set forth herein.

        179.    Nader represented to the Board of MMC that Karen Lewis’s stock shares would

be purchased back into MMC’s Treasury Fund.

        180.    Nader’s representation was material because it caused the Board not to question

the purchase or the use of company funds to make the purchase.

        181.    Nader intended his false representation to mislead the Board, and indeed the

Board relied on Nader’s false representation and did not immediately challenge the transaction.

        182.    Nader’s material representation was false and misleading. Rather than returning

the shares to MMC’s Treasury Fund, Nader used MMC funds to purchase Karen Lewis’s shares

and then transferred the shares to himself.

        183.    Nader’s misrepresentations have harmed MMC. MMC was deprived of the funds

Nader used to purchase the stock, as well as the stock itself.

        184.    MMC is entitled to damages and declaratory relief, as well as all other available

remedies and relief, as set forth in its Prayer for Relief.

                                        COUNT V
                     (Declaratory Judgment Pursuant To 28 U.S.C. § 2201)

        185.    MMC realleges and incorporates by reference the allegations set forth in

Paragraphs 1 through 132 of this Complaint as if fully set forth herein.

        186.    An actual and justiciable controversy exists concerning whether Nader has

breached his fiduciary duties to MMC by misappropriating corporate assets, sabotaging MMC

business opportunities, and engaging in various schemes to acquire MMC for himself.




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        187.    MMC asserts that Nader’s misconduct has substantially harmed MMC’s business

interests and financial position, while Nader disputes as much.

        188.    An actual and justiciable controversy also exists concerning whether Nader was

properly terminated from his employment at MMC.

        189.    Nader disputes that he was properly terminated by the Board for his conduct and

asserts that he is still owed a bonus from MMC under his informal agreement with the Company.

        190.    Pursuant to 28 U.S.C. § 2201, a judicial determination of the respective rights of

the parties is necessary and appropriate under the circumstances.

                                   DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, MMC demands a trial by

jury in this action on all issues so triable as of right.

                                       PRAYER FOR RELIEF

        WHEREFORE, MMC prays for this Court to enter judgment against Nader, granting the

following relief:

        1.      A declaration that:

                    •   Nader breached his fiduciary duties to MMC by acquiring MMC equity
                        shares without the MMC Board’s authorization;

                    •   Nader breached his fiduciary duties to MMC by improperly acquiring
                        MMC equity shares through the use of MMC corporate assets;

                    •   Nader breached his fiduciary duties to MMC by creating and funding VTE
                        with MMC monies without the MMC Board’s knowledge or
                        authorization;

                    •   Nader breached fiduciary duties to MMC by attempting to divest MMC of
                        its equity and voting power in VTE;

                    •   Nader breached his fiduciary duties to MMC by sabotaging MMC’s sale
                        in an attempt to acquire the Company for himself at a price well below the
                        fair market price of the Company;



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          •   Nader breached his fiduciary duties to MMC by entering into
              employment, lease, and finance agreements that were not in the best
              interests of the Company;

          •   Nader’s acquisition of Karen Lewis’s stock shares is void;

          •   Nader has been unjustly enriched by failing to compensate MMC for its
              valuable equity shares that have benefitted Nader;

          •   Nader has been unjustly enriched by accepting and retaining his executive
              salary and bonuses from MMC for services he did not perform;

          •   Nader has been unjustly enriched by benefiting financially from VTE,
              which was funded by MMC without authorization from the Board of
              MMC;

          •   Nader converted MMC funds by personally acquiring MMC stock using
              MMC funds, without the knowledge and approval of MMC’s Board;

          •   Nader converted MMC funds by using MMC funds to create and fund
              VTE, including using MMC funds to establish bank accounts, credit lines,
              and marketing materials and purchase other title companies for VTE,
              without Board knowledge or approval;

          •   Nader committed fraud by falsely representing to the Board of MMC that
              Karen Lewis’s stock shares would be purchased back into MMC’s
              Treasury Fund, when in fact Nader used MMC funds to purchase the stock
              for himself; and

          •   Nader was properly terminated from his employment at MMC.

 2.    An order requiring Nader to return Karen Lewis’s MMC shares to the MMC
       Treasury Fund;

 3.    An order requiring Nader to turn over VTE equity to MMC and pay MMC any
       amounts he received from VTE;

 4.    Actual damages in an amount according to proof, including but not limited to all
       damages associated with the lost sale of MMC, all damages associated with
       Nader’s termination, and all damages related to bonuses MMC cannot claw back
       from loan officers who left MMC after it terminated Nader;

 5.    Costs of suit herein, as permitted by law;

 6.    Attorney’s fees, as permitted by law;

 7.    Pre-judgment, post-judgment, and other interest on all monetary damages, as
       permitted by law; and


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      8.     Any and all such further relief that the Court deems just and proper.


Dated: September 7, 2022




                                         By:

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